         Case:17-19904-KHT Doc#:65 Filed:05/16/18                       Entered:05/16/18 16:29:16 Page1 of 8
                                                                                                                     5/14/18 2:10PM




Fill in this information to identify your case

UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO

Debtor 1: Tiffany Renee Yee                                          Case # 17-19904
              First Name         Middle Name           Last Name

Debtor 2:                                                            Chapter 13
              First Name         Middle Name           Last Name

Local Bankruptcy Form 3015-1.1
FOURTH Chapter 13 Plan
Including Valuation of Collateral and Classification of Claims


Complete applicable sections. This chapter 13 plan dated May 14, 2018 [month/day/year] supersedes all previously
filed plans.


Part 1     Notices
  1.1.    To Creditors: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file a
          written objection with the bankruptcy court by the deadline fixed by the court. (Applicable deadlines given by
          separate notice.) If you do not file a timely objection, you will be deemed to have accepted the terms of the plan,
          which may be confirmed without further notice or hearing. Creditors must file timely proofs of claim in order to
          receive the applicable payments.
  1.2     Nonstandard provisions
              This plan contains nonstandard provisions, set out in Part 12 of the plan.
  1.3.    Motions for Valuation of Collateral and Determination of Secured Status under 11 U.S.C. § 506
              This plan contains a motion for valuation of personal property collateral and determination of secured status
              under 11 U.S.C. § 506. Additional details are provided in Part 7.4 of this plan.
              The debtor is requesting a valuation of real property collateral and determination of secured status under 11
              U.S.C. § 506 by separate motion. Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan.
              Status of motion:

              [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]
  1.4.    Motions for Lien Avoidance 11 U.S.C. § 522(f)
              The debtor is requesting avoidance of a judicial lien or nonpossessory, non-purchase-money security interest
              under 11 U.S.C. § 522(f) by separate motion. Additional details are provided in Part 10.4 of this plan. Status of
              motion:
              March 9, 2018 April 3, 2018
              [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]

Part 2     Background Information
  2.1     Prior bankruptcies pending within one year of the petition date for this case:
         Case Number & Chapter                    Discharge or Dismissal/Conversion                       Date
-NONE-

  2.2     Discharge: The debtor(s):
                               is eligible for a discharge;
                            OR
                               is not eligible for a discharge and is not seeking a discharge.
  2.3     Domicile & Exemptions:

L.B.F. 3015-1.1 (12/17)                                                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                          Best Case Bankruptcy
         Case:17-19904-KHT Doc#:65 Filed:05/16/18                              Entered:05/16/18 16:29:16 Page2 of 8
                                                                                                                           5/14/18 2:10PM




         Prior states of domicile:
           within 730 days
           within 910 days
         The debtor is claiming exemptions available in the           state of CO [state] or      federal exemptions.
  2.4    Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C.
         § 101(14A). Notice shall be provided to these parties in interest:
          A. Spouse/Parent:

             [Identify]
          B. Government:

             [Identify]
          C. Assignee or Other:

             [Identify]
          D. The Debtor        has provided the Trustee with the address and phone number of the Domestic Support
             Obligation recipient, or     cannot provide the address or phone number because it/they is/are not
             available.
          E. The current monthly income of the debtor, as reported on Official form 122C-1 or 122C-2, as applicable, is
                below,    equal to, or   above the applicable median income

Part 3     Plan Analysis
  3.1    Total Debt Provided for under the Plan and Administrative Expenses
          A. Total Priority Claims (Class One)
                   1.     Unpaid attorney's fees                                                                 $          4,150.00
                          (total attorney's fees are estimated to be $ 5,500.00 [amount] of which
                          $ 1,350.00 [amount] has been prepaid)
                   2.     Unpaid attorney's costs (estimated)                                                    $              0.00
                   3.     Total taxes                                                                            $         21,491.00
                          (Federal $17,996.00 [amount]; State $3,495.00 [amount]; Other $0.00
                          [amount])
          B. Total of payments to cure defaults (Class Two)                                                      $         64,636.54
          C. Total payment on secured claims (Class Three)                                                       $              0.00
          D. Total of payments on unsecured claims (Class Four)                                                  $            507.26
          E. Sub-Total                                                                                           $         90,784.80
          F. Total trustee's compensation (10%) of debtor's payments)                                            $         10,087.20
          G. Total debt and administrative expenses                                                              $        100,872.00
  3.2    Reconciliation with Chapter 7
         A. The net property values set forth below are liquidation values rather than replacement values. The
            replacement values may appear in Class Three of the plan.

         B. Assets available to Class Four unsecured creditors if Chapter 7 filed:

                   1.     Value of debtor's interest in non-exempt property                                      $         10,606.50

           Property                Value        Less costs of        Less liens      X Debtor's          Less           = Net Value
                                                    sale                              Interest        Exemptions
          Cash                    10.00              0.00               0.00           100%              7.50              2.50
 personal checking and            100.00             0.00               0.00           100%              75.00             25.00
   savings accounts
paypall business account        10,579.00            0.00               0.00           100%               0.00           10,579.00

                    2.    Plus: value of property recoverable under avoiding powers:                             $              0.00
                    3.    Less: estimated Chapter 7 administrative expenses:                                     $          1,810.65

L.B.F. 3015-1.1 (12/17)                                                                                                        page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                               Best Case Bankruptcy
             Case:17-19904-KHT Doc#:65 Filed:05/16/18                          Entered:05/16/18 16:29:16 Page3 of 8
                                                                                                                              5/14/18 2:10PM



                       4.  Less: amounts payable to priority creditors:                                            $          21,491.00
                       5.  Equals: estimated amount payable to Class Four creditors if Chapter 7 filed
                           (if negative, enter zero)                                                               $                 0.00
             C. Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus
                any funds recovered from "other property" described in Part 4.1.D below.                           $             507.26

    Part 4    Properties and Future Earnings Subject to the Supervision and Control of the Trustee
     4.1     Future Earnings: The debtor submits to the supervision and control of the Trustee all or such portion of the
             debtor's future earnings or other future income as is necessary for the execution of the Plan, including:
             A. Future earnings which shall be paid to the trustee for a period of approximately 60 [#] months,
                beginning November 25, 2017 [month/day/year] as follows:
             B.
              Number of Payments                             Amount of Payments                               Total
                                               6                     200.00                                                    1,200.00
                                               6                     500.00                                                    3,000.00
                                              48                    2,014.00                                                  96,672.00

                                                              Total of monthly payments                                     100,872.00

             C. Amounts for the payment of Class Five post-petition claims included in above: $           [amount]
             D. Other property:

             [specify].
     4.2     Payments: The debtor agrees to make payments under the Plan as follows:
               Voluntary wage assignment to employer: Paid in the following manner: $    [amount] to be
                deducted     [time period, e.g., weekly, monthly, per pay period, etc.]. Employer's Name, address,
                telephone number:

             [name, address, telephone number].


             OR

               Direct payment: from debtor to Trustee

    Part 5    Class One - Claims Entitled to Priority Under 11 U.S.C. § 507
   Unless other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash
   payments prior to the commencement of distributions to any other class (except that the payments to the Trustee
   shall be made by deduction from each payment made by the debtor to the Trustee) as follows:
     5.1     Allowed administrative expenses:
             A.    Trustee's compensation (10% of amounts paid by debtor under this Plan)                       $ 10,087.20
             B.    Attorney's Fees (estimated and subject to allowance)                                         $ 4,150.00
             C.    Attorney's Costs (estimated and subject to allowance)                                        $ 0.00
     5.2     Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 [if none, indicate]:
             $21,491.00
             A. Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to distribute
                amounts provided by the plan.
1. Priority support arrearage: The debtor owes past due support to             [name] in the total of $   [amount] that will be paid
   as follows:
                     [ ] Distributed by the Trustee pursuant to the terms of the Plan; or


   L.B.F. 3015-1.1 (12/17)                                                                                                        page 3
   Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                Best Case Bankruptcy
          Case:17-19904-KHT Doc#:65 Filed:05/16/18                        Entered:05/16/18 16:29:16 Page4 of 8
                                                                                                                         5/14/18 2:10PM



                    [ ] The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or
                    J) in the amount of $   [amount] to       . Of that monthly amount, $ [amount] is for current support
                    payments and $       [amount] is to pay the arrearage.
              2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with
                 the Court and submit to the Trustee an update of the required information regarding Domestic Support
                 Obligations and the status of required payments.

          B. Taxes
               1.    Federal Taxes                                                                        $              17,996.00
               2.    State Taxes                                                                          $               3,495.00
               3.    Other Taxes
                                                                                                          $                     0.00
                     [Describe]
               4.    Other Class One Claims, if any:
                     State                                                                                $               3,495.00
                     2012-2016
                     [Describe]

Part 6      Class Two - Defaults
    6.1   Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Two, debtor must
          specifically serve such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.
    6.2   Class Two A [if none, indicate]: Claims set forth below are secured only by an interest in real property that is
          the debtor's principal residence located at 475 W. 12th Ave. #8G Denver, CO 80204 [street address city, state, zip
          code]. Defaults shall be cured and regular payments shall be made:
    [ ]   None
    OR
              Creditor                 Total Default      Interest    Total Amount     No. of        Regular         Date of First
                                       Amount to be         Rate         to Cure      Months to      monthly          Payment
                                         Cured1                        Arrearage        Cure      payment to be
                                                                                                  made directly
                                                                                                    to creditor
Belvedere Tower HOA                          10,876.00           8%       13,340.44          36           339.00 11/1/2017
City and County of Denver                     2,108.00          12%        2,868.10          36           150.00
Fay Servicing Llc                            48,428.00           0%       48,428.00          36             0.00 11/1/2017
    6.3   Class Two B [if none, indicate]: Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by
          an interest in real
          property that is the debtor's principal residence) or unsecured claims set forth below on which the last payment is
          due after the date on which the final payment under the Plan is due. Defaults shall be cured and regular payments
          shall be made:
    [ X ] None

    OR
            Creditor              Description of Total Default Interest        Total        No. of      Regular      Date of First
                                   Collateral     Amount to      Rate        Amount to     Months       monthly       Payment
                                                  be Cured2                    Cure        to Cure    payment to
                                                                             Arrearage                 be made
                                                                                                       directly to
                                                                                                        creditor
    6.4   Class Two C [if none, indicate]: Executory contracts and unexpired leases are rejected, except the following,
          which are assumed:

1
    The lesser of this amount or the amount specified in the Proof of Claim.
2
    The lesser of this amount or the amount specified in the Proof of Claim.
L.B.F. 3015-1.1 (12/17)                                                                                                      page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                             Best Case Bankruptcy
         Case:17-19904-KHT Doc#:65 Filed:05/16/18                           Entered:05/16/18 16:29:16 Page5 of 8
                                                                                                                         5/14/18 2:10PM




  [ X ] None

  OR
  Other Party to Lease or         Property, if any, Subject to the       Total Amount to    No. of         Regular    Date of
         Contract                      Contract or Lease                   Cure, if any    Months to       monthly     First
                                                                                             Cure       payment to be Paymen
                                                                                                        made directly    t
                                                                                                          to creditor
          A. In the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of
             claim reflecting the rejection of the lease or contract within 30 days of the entry of the order confirming this
             plan, failing which the claim may be barred.

Part 7      Class Three - All Other Allowed Secured Claims
Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:
  7.1     Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Three, debtor must
          specifically serve such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.
  7.2     Adequate Protection: If adequate protection payments are indicated, such payments will be made by the trustee
          to the creditors indicated above until such time that superior class creditors are paid in full. Any adequate
          protection payments made will be subtracted from the total amount payable. Unless otherwise provided, adequate
          protection payments will accrue from the date of filing but will not be made until the creditor has filed a timely
          proof of claim.
  7.3     Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012, 7004
          and L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and determination
          of secured status under 11 U.S.C. § 506 as to the real property and claims listed in Part 1.3 of this plan and
          below. The plan is subject to the court’s order on the debtor’s motion. If the court grants the debtor’s motion, the
          creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed proof of
          claim, including such claims filed within thirty days from entry of an order determining secured status under Fed.
          R. Bankr. P. 3002(c)(1) and (3). The creditors listed in Part 1.3 and below shall retain the liens securing their
          claims until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible for a discharge, upon the debtor’s
          successful completion of all plan payments and the closing of the case.
          [X]      None

          OR
             Name of Creditor                           Description of Collateral              Proof of Claim amount, if any
                                                      (pursuant to L.B.R. 3012-1)
  7.4     Secured claims subject to 11 U.S.C. § 506 [if none, indicate]: The debtor moves the court, through this
          chapter 13 plan, for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding
          the property and claims below. The creditors shall retain the liens securing their claims until discharge under 11
          U.S.C. § 1328 or payment in full under nonbankruptcy law.
          [X]      None

          OR
          A. The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the
             allowed claim shall be treated as a general unsecured claim.
        Creditor          Description of Collateral       Confirmation      Amount of      Interest    Adequate     Total Amount
                                                            Value of         Debt as         Rate      Protection     Payable
                                                           Collateral       Scheduled                  Payment
-NONE-

          B. The following creditors shall be paid the remaining balance payable on the debt over the period required to
             pay the sum in full.



L.B.F. 3015-1.1 (12/17)                                                                                                        page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                              Best Case Bankruptcy
         Case:17-19904-KHT Doc#:65 Filed:05/16/18                            Entered:05/16/18 16:29:16 Page6 of 8
                                                                                                                            5/14/18 2:10PM




        Creditor          Description of Collateral      Confirmation        Amount of     Interest       Adequate      Total Amount
                                                           Value of           Debt as        Rate         Protection      Payable
                                                          Collateral         Scheduled                    Payment
  7.5     Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) [if none, indicate]: The
          following creditors shall retain the liens securing their claims, and they shall be paid the amount specified which
          represents the remaining balance payable on the debt over the period required to pay the sum in full:
          [X]      None
          OR
                                                                                                  Adequate
                                                                     Amount of Debt   Interest    Protection           Total Amount
            Creditor               Description of Collateral          as Scheduled      Rate      Payment                Payable
  7.6     Property being surrendered [if none, indicate]: The debtor surrenders the following property securing an
          allowed secured claim to the holder of such claim:
          [X]      None
          OR
Creditor                                       Property                                    Anticipated Date of Surrender
  7.7     Relief from Stay: Relief from the automatic stay to permit enforcement of the liens encumbering surrendered
          property shall be deemed granted by the Court at the time of confirmation of this Plan. With respect to property
          surrendered, no distribution on the creditor’s claim shall be made unless that creditor files a proof of claim or an
          amended proof of claim to take into account the surrender of the property.
Part 8      Class Four - Allowed Unsecured Claims Not Otherwise Referred To in the Plan
  8.1     Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greater of:
          A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth
             in Part 3.2; or
          B. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).
  8.2     Disposable Income: The monthly disposable income of $ [amount] has been calculated on Form 122C-1 or
          122C-2, as applicable. Total disposable income is $ [amount] which is the product of monthly disposable
          income of   [amount] times the applicable commitment period of   [time period].
  8.3     Classification of Claims:
          A. [ X ] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after
             payment by the Trustee of all prior classes;
          OR
          B. [ ] Class Four claims are divided into more than one class as follows:                   .
  8.4     Non-Dischargable Claims: A timely filed claim, found by the Court to be non-dischargeable pursuant to 11
          U.S.C. § 523(a)(2), (4), or (6), will share pro-rata in the distribution to Class Four. Collection of the balance is
          stayed until the case is dismissed, converted to a Chapter 7 or discharge enters, unless ordered otherwise.
Part 9      Class Five - Post-Petition Claims Allowed Under 11 U.S.C. § 1305 (if none indicate)
Post-petition claims allowed under 11 U.S.C. § 1305 shall be paid as follows:
OR
[ X ] None
Part 10 Other Provisions
  10.1 Direct Payments: Payment will be made directly to the creditor by the debtor(s) on the following claims:

                                                                                           Monthly Payment         No. of Months
                   Creditor                                Collateral, if any                  Amount                to Payoff
Flagstar Bank                                 475 W. 12th Ave. #8G Denver, CO 80204                         0.00

L.B.F. 3015-1.1 (12/17)                                                                                                         page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                 Best Case Bankruptcy
        Case:17-19904-KHT Doc#:65 Filed:05/16/18                        Entered:05/16/18 16:29:16 Page7 of 8
                                                                                                                      5/14/18 2:10PM




  10.2 Effective Date of Plan: The effective date of this Plan shall be the date of entry of the Order of Confirmation.
  10.3 Order of Distribution:
         A. [ X ] The amounts to be paid to the Class One creditors shall be paid in full, except that the Chapter 13
            Trustee’s fee shall be paid up to, but not more than, the amount accrued on actual payments made to date.
            After payment of the Class One creditors, the amounts to be paid to cure the defaults of the Class Two A,
            Class Two B and Class Two C creditors shall be paid in full before distributions to creditors in Classes Three,
            Four, and Five (strike any portion of this sentence which is not applicable). The amounts to be paid to the
            Class Three creditors shall be paid in full before distributions to creditors in Classes Four and Five.
            Distributions under the plan to unsecured creditors will only be made to creditors whose claims are allowed
            and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are made to Classes
            One, Two A, Two B, Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1.
         B. [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:

               [exceptions]
  10.4 Motions to Void Liens under 11 U.S.C. § 522(f): In accordance with Fed. R. Bankr. P. 4003(d), the debtor
       intends to file or has filed, by separate motion served in accordance with Fed. R. Bankr. P. 7004, a motion to void
       lien pursuant to 11 U.S.C. § 522(f) as to the secured creditors listed in Part 1.4 and below:
               Creditor               Description of Collateral (pursuant to   Date Motion to Void    Date of Order Granting
                                                 L.B.R. 4003-2)                    Lien Filed           Motion or Pending
Capital One                           475 W. 12th Ave. #8G Denver, CO                 March 9, 2018               April 3, 2018
                                      80204
Discover Bank                         475 W. 12th Ave. #8G Denver, CO                March 18, 2018               April 3, 2018
                                      80204
Unifund CCR, LLC/Pride                475 W. 12th Ave. #8G Denver, CO                 March 9, 2018               April 3, 2018
Acquisitions, LLC                     80204
  10.5 Student Loans:
         [X]       No Student Loans
         OR
         [ ] Student Loans are to be treated as an unsecured Class Four claim or as follows:

         [describe].
  10.6 Restitution:
         [X]       No Restitution
         [ ] The debtor owes restitution in the total amount of $ [amount] which is paid directly
             to    [name/description] in the amount of $ [amount] per month for a period of       [#] months; or as
             follows:


               [describe]
  10.7 Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation
       of this Plan.
  10.8 Insurance: Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and
       will [ X ] will not [ ] [check one] be obtained and kept in force through the period of the Plan.
   Creditor to Whom This                  Collateral Covered              Coverage       Insurance Company, Policy No. and
          Applies                                                          Amount       Agent Name, Address and Telephone
                                                                                                       No.
-NONE-

Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.
Part 11 Presumptively Reasonable Fee
The following election is made (check one box only):

L.B.F. 3015-1.1 (12/17)                                                                                                   page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                           Best Case Bankruptcy
        Case:17-19904-KHT Doc#:65 Filed:05/16/18                              Entered:05/16/18 16:29:16 Page8 of 8
                                                                                                                          5/14/18 2:10PM



              Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a). Any objection to the
             allowance of the Presumptively Reasonable Fee must be made by the objection deadline to
             confirmation.

         OR

             Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).
Part 12 Nonstandard Plan Provisions
Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision
not otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
void.
[ X ] None
OR
[ ] The following plan provisions will be effective only if there is a check in the box “included” in Part 1.2


[describe].

Part 13 Signature of Debtor(s)' Attorney or Debtor (if unrepresented)
I certify that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the Official
Form 3015-1.1, and that the plan contains no nonstandard provisions other than those set out in Part 12.

Date:        May 14, 2018                                            By: /s/ Jane M. Roberson
                                                                         Jane M. Roberson
                                                                         Signature
                                                                     Bar Number (if applicable): 30543 CO
                                                                     Mailing Address: 720 S Colorado Blvd
                                                                                      Unit 630-S
                                                                                      Denver, CO 80246
                                                                     Telephone number: 303-893-0833
                                                                     Facsimile number: 303-431-0633
                                                                     Email address: Roberson@JustAskJane.com


Part 14 Verification of Debtor

I declare under penalty of perjury that the foregoing is true and correct.

Date:        May 14, 2018                                            By: /s/ Tiffany Renee Yee
                                                                         Tiffany Renee Yee
                                                                         Signature

                                                                     Mailing Address: 475 W 12th Ave. #8G Denver CO 80204-0000
                                                                     Telephone number:
                                                                     Facsimile number:
                                                                     Email address:




L.B.F. 3015-1.1 (12/17)                                                                                                       page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                               Best Case Bankruptcy
